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                                                                                          2008 Nov-05 AM 09:32
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ALABAMA

YVONNE GRAHAM,                    §
                                  §
     PLAINTIFF,                   §
                                  §
          vs.                     §                CASE NO.: 08-1129-IPJ
                                  §
DELTA GROUP, LLC, a/d/b/a JOSEPH, §
ORTIZ & EPSTEIN, LLC, a/d/b/a     §
FORTIS FINANCIAL GROUP,           §
                                  §
     DEFENDANT.                   §

                          MOTION FOR DEFAULT JUDGMENT
                              AGAINST DELTA GROUP

       COMES NOW Plaintiff Yvonne Graham against Defendant Delta Group and would

show unto the Clerk as follows:

1.     The Complaint against the Defendant was filed in the Southern District of Alabama on or

       about January 24, 2008.

2.     A Summons was issued on or about January 25, 2008.

3.     The service of Summons was perfected by certified mail on or about February 1, 2008, as

       evidenced by a Return Receipt Card.

4.     The Defendant was due to file an answer to the Complaint by on or before April 3, 2008.

5.     An Amended Complaint against the Defendant was filed in the Northern District of

       Alabama on or about June 26, 2008.

6.     The Defendant has failed to plead or otherwise defend within the time and manner

       provided by the Rules of Civil Procedure.

7.     The above facts are spread upon the record of the Court.

8.     An Entry of Default was entered by the Court on September 26, 2008.
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9.     The Affidavit of Plaintiff, setting forth damages and expenses, is attached hereto and

incorporated herein by reference.

       WHEREFORE, Plaintiff prays for an entry of a default judgment in this cause.

Submitted on this, the 3rd day of November, 2008.



                                                    Respectfully submitted,

                                                    s/James D. Patterson
                                                    James D. Patterson, Esq. (PATTJ6485)
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